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13                             UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of          DECLARATION OF S
   themselves and all others similarly situated,           S     IN SUPPORT OF
17               Plaintiffs,
                                                           PLAINTIFFS’ MOTIONS FOR
                                                           PRELIMINARY INJUNCTION
18        v.                                               AND PROVISIONAL CLASS
                                                           CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4244539.4]
           DECLARATION OF S       S    IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, S     S      , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I have been incarcerated at FCI Dublin since April 14, 2022. In the past, I
 6 was incarcerated by the Bureau of Prisons (BOP) at FCI Tallahassee, FCI Aliceville, FCI
 7 Hazelton, and FDC Miami. In the future BOP may transfer me to other BOP facilities but
 8 at any point I could be transferred back to FCI Dublin. My previous transfer requests to be
 9 transferred away from FCI Dublin were denied.
10                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
11 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
12 and put myself and other incarcerated persons at substantial risk of imminent serious harm
13 from sexual assault, harassment, and retaliation from staff.
14                 4.     I am constantly harassed and singled out by staff about my clothing, even
15 though the clothing is commissary-issued. In general, staff are constantly telling me that I
16 cannot leave my cell and/or walk around the area while wearing shorts. Other inmates in
17 my unit are experiencing the same issue. Lt. Ramirez pulled me over on the compound
18 and criticized my clothes, saying I was “compromising officers.” My understanding is she
19 has since been placed under investigation for PREA-related issued.
20                 5.     While at FCI Dublin, I also experienced harassment based on my race and
21 gender. For instance, while walking to the chapel one afternoon, a female officer accused
22 another inmate and me of having altered my commissary issued clothing for a tighter fit I
23 had not altered the clothes in anyway and they fit me fine. No other officers had ever said
24 anything about it and I felt targeted by these comments. As we were walking away, the
25 female officer then called us “disgusting black bitches.”
26                 6.     In another instance, one day in September 2022, while I was working in the
27 kitchen as an orderly, a male food service officer yelled at me about being in the back area
28 of the kitchen where I was allowed to be and made a discriminatory comment towards me.
     [4244539.4]                                          1
           DECLARATION OF S       S    IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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 1 This comment hurt me so much that I cried, and others had to console me. I left and went
 2 back to my unit and was going to write the officer up, but my counselor said she would
 3 take care of it and speak to him. The fact this incident happened around other people made
 4 others treat me differently and I felt very uncomfortable and unsafe around staff. The
 5 kitchen areas is divided into two spaces, the prepping area and a cooking area where the
 6 ovens. I was in the cooking area and others were in the prepping area. Although the other
 7 workers could not hear the male food service officer’s initial comments to me, when I left
 8 the prepping area one of the workers stopped and asked what was going on and I explained
 9 about the officer’s comment. The male food service officer was walking behind me and
10 could hear me explaining and at that point started yelling at me to stop talking about the
11 situation and to keep going to the front. The fact staff made comments to this like me
12 made others feel more comfortable treating me worse. I eventually quit my job in food
13 service on October 31, 2022, as a result of all of the harassment I was experiencing.
14                 7.   Most recently, in February 2023, a male unit officer was doing his rounds
15 and looked in on me in the shower. He was supposed to come every 30 minutes, but he
16 came back after having just been there five minutes ago, and looked in on me again while I
17 was in the shower naked. When I looked up, he was standing there while I was soaping
18 myself. That same day he wrote me up in an incident report for taking the shower (which I
19 needed to do because I had been cleaning), and I was adjudicated guilty, and I appealed. I
20 filed a sensitive BP-10 but regional never responded to me either. This happened multiple
21 times although he only wrote me up on an incident report once.
22                 8.   In April 2023 I was put in the SHU on a false ticket relating to my suboxone
23 prescription. Extremely distressed, I was placed on suicide watch. While I was on suicide
24 observation, a male staff member came in without announcing himself, and saw me while I
25 was unclothed, causing me significant distress. The male staff member then wrote me up
26 for being a sexual threat. I wrote to the Warden and saw the Regional Officer about this
27 incident, and they dropped the charges. I also wrote it up to OIG on the computer, but I
28 received no response. I also did a BP-10 sensitive but have not received a response yet.
     [4244539.4]                                       2
           DECLARATION OF S       S    IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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 1 They do not care about us here. While the charges were dropped, my segregation term for
 2 the suboxone was extended to a full 30 days, which I felt was retaliatory because other
 3 inmates with the same charges did not get put in segregation at all and I had a prescription.
 4                 9.    Staff at FCI Dublin have never worn body-worn cameras in the facility and
 5 despite ongoing sexual abuse and assault at the facility staff still do not use body-worn
 6 cameras. The cameras that are installed are enclosed in dark colored glass and it is
 7 impossible to tell where they are pointing or whether they are working. My understanding
 8 is that they only keep the camera footage for 30 days.
 9                 10.   There is no effective way to confidentially report sexual assault and abuse by
10 staff at FCI Dublin and changes are not actually made. The copy machine has been broken
11 for weeks at a time, making reporting and legal correspondence very difficult.
12                 11.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
13 by staff and retaliate against people who do report. The incident with the female officer
14 was clearly an act of retaliation because the friend that I was with when we were stopped
15 had filed a sexual abuse case against a staff member. To my knowledge, BOP never
16 investigated her claim. After the incident with the female officer, I was placed in
17 quarantine to prevent my legal visit; my quarantine was extended even though I was
18 testing negative. Ever since I spoke to the Task Force, I have been getting incident reports
19 for issues I never had before, like wearing boxers for count. I thought that what I told the
20 task force would be kept confidential, but it seems like it was not. Staff have also
21 retaliated against me by filing incident reports that are fabricated or picking at small, petty
22 things that generally would trigger a warning. At the four federal prisons I was held at
23 prior to coming to FCI Dublin I received a total of 15 incident reports across all of those
24 facilities over the course of eight years. Since arriving at FCI Dublin I have received 10
25 incident reports in the past seven months alone all after reporting incidents with staff
26 members and all in apparent retaliation for exercising my right. As a result, I have lost
27 good credit conduct time which is forcing me to stay in prison longer that I should be.
28                 12.   When incarcerated persons report sexual assault and abuse by staff, FCI
     [4244539.4]                                        3
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 1 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
 2 delayed and overseen by staff who know and work with the offending staff member.
 3 Generally nothing happens as a result. For instance, in the incident with male food service
 4 officer in the kitchen, I went to speak with the regional officer right after. The regional
 5 officer, Mr. High, informed me that he would “handle it and talk to him.” I even filed a
 6 report with the Task Force and Lt. Putnam about this incident. Nothing ever came of my
 7 report and as a result, I ultimately quit my job in the kitchen and am stuck using my extra
 8 money to eat because I have been avoiding the kitchen to avoid male food service office.
 9                 13.   There is little to no medical care available to survivors of sexual abuse and
10 assault at FCI Dublin. They refused to give me Aquaphor for my dermatitis and eczema
11 and they refused to treat my sprained ankle for over two weeks after I injured myself.
12                 14.   Psychiatric care is inadequate at FCI Dublin too. In December 2022, they
13 took me off my mood stabilizer psychiatric medication cold turkey and without explaining
14 why. It impacted me emotionally and physically, I couldn’t sleep, I fell into a major
15 depression and ended up on suicide watch. I finally saw a psychologist after 3 weeks, but
16 nothing happened, and I still do not have any medication to treat my depression and
17 insomnia and continue to struggle as a result.
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     [4244539.4]                                         4
           DECLARATION OF S       S    IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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